Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 1 of 31 Page ID #:623




  1   John J. Edmonds (State Bar No. 274200)
  2
      jedmonds@cepiplaw.com
      COLLINS EDMONDS POGORZELSKI
  3   SCHLATHER & TOWER, PLLC
  4   1851 East First Street, Suite 900
      Santa Ana, California 92705
  5   Telephone: (951) 708-1237
  6   Facsimile: (951) 824-7901
  7
      Attorney for Plaintiff,
  8   DIGITECH IMAGE TECHNOLOGIES, LLC
  9
                               UNITED STATES DISTRICT COURT
 10                           CENTRAL DISTRICT OF CALIFORNIA
 11

 12   DIGITECH IMAGE TECHNOLOGIES,             CASE NO.: SACV12-01688 ODW
      LLC,                                      (MRWx)
 13

 14              Plaintiff,                    DIGITECH’S RESPONSE IN
            v.                                 OPPOSITION TO NEWEGG’S
 15
                                               MOTION FOR FEES
 16
      NEWEGG, INC. and NEWEGG.COM,             [REDACTED]
      INC.
 17        Defendants.                         Honorable Otis D. Wright, II
 18

 19
                                               Hearing Date: September 23, 2013
                                               Hearing Time: 1:30 p.m.
 20                                            Location: Courtroom 11
 21                                            312 North Spring Street
                                               Los Angeles, California 90012-4701
 22

 23

 24

 25

 26

 27

 28


                                           - i –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 2 of 31 Page ID #:624




  1                                 TABLE OF CONTENTS
  2
      I.          INTRODUCTION ..............................................................................................1

  3
      II.         STATEMENT OF FACTS ................................................................................5

  4   III.        LEGAL STANDARD .........................................................................................6
  5   IV.         ARGUMENT ......................................................................................................8
  6        A. This case is not “exceptional” under 35 U.S.C. § 285. .........................................8
  7          a.     Newegg’s allegation that Digitech filed this case “to extract a nuisance value
  8          settlement” is baseless, unsupported, and contrary to the facts. ...............................9
  9          b. There was nothing improper about Digitech suing a retailer for making
 10          infringing sales of infringing products. ...................................................................11
 11          c.     Newegg’s contention that Digitech “should have known” that a presumptively
 12          valid patent was actually invalid is meritless and unsupported. .............................13
 13        B. For at least the same reasons, granting fees pursuant to Fed. R. Civ. P. 54(d) is
 14
           inappropriate. .............................................................................................................16
 15
           C. For at least the same reasons, granting fees pursuant to §1927 or the Court’s
 16
           Inherent Powers is inappropriate. ..............................................................................17
 17
           D. Even if Newegg was entitled to a fee recovery, which it is not, Newegg has
 18
           failed to prove up its attorney’s fees for defending this action. Even worse, Newegg
 19
           has inexcusably inflated its fee claim by misrepresenting that all fees sought are all
 20
           for “defending” this action. ........................................................................................19
 21
             a.     Newegg’s Motion contains inexcusable misrepresentations. ..........................19
 22
             b. Newegg has failed to prove up its attorneys’ fees in this action. .....................22
 23
           E. In the alternative, the Court should postpone deciding Newegg’s Motion until
 24
           the conclusion of Digitech’s appeal. ..........................................................................24
 25

 26
      V.          CONCLUSION ....................................................................................................................................... 25

 27

 28


                                                                                - ii –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 3 of 31 Page ID #:625




  1                                                  TABLE OF AUTHORITIES
  2

  3
      Cases
  4   Adjustacam, No. 6:10-cv-00329-LED ............................................................................1
  5
      Alvarado Orthopedic Research, L.P. v. Linvatec Corp.,
  6
         2013 WL 2351814 at *11 ........................................................................................18
  7
      Amdocs v. Openet Telecom,
  8
        2013 U.S. Dist. LEXIS 42300, at *6 (E.D. Va. Mar. 21, 2013) ..............................25
  9

 10
      ArrivalStar v. Meitek, No. 2:12-cv-01225-JVS,
         Dkt No. 55, p. 8 (C.D. Cal. Nov. 20, 2012).......................................................10, 17
 11

 12   Arroyo v. Svela, CV 10-7814 CAS-SSX,
         2012 WL 3308427 at *1 (C.D. Cal. Aug. 13, 2012) (citing Hensley, 461 U.S. at
 13
         437) ..........................................................................................................................22
 14
      Artese v. Academy Collection Serv.,
 15
         2000 U.S. Dist. LEXIS 1186, 2000 WL 133733 (D. Conn. Jan. 18, 2000) ..9, 10, 16
 16
      Barber v. Miller,
 17
        146 F.3d 707, 711 (9th Cir. 1998) .......................................................................8, 18
 18

 19
      Beckman Instr.v. LKB Produkter AB,
         892 F.2d 1547, 1553, 13 USPQ2d 1301, 1306-07 (Fed.Cir.1989) ...................19, 20
 20

 21   Chambers v. NASCO,
        501 U.S. 32, 45–46 (1991) ........................................................................................8
 22

 23   Chevron v. Pennzoil,
        974 F.2d 1156, 1162 (9th Cir.1992) ........................................................................24
 24

 25   CLS Bank Int’l v. Alice Corp., No. 2011-1301,
 26
        2013 U.S. App. LEXIS 9493, at *28, 30 (Fed. Cir. May 10, 2013) (en banc)
        (Lourie, J., concurring) ........................................................................................4, 15
 27

 28   Cybor Corp. v. FAS Technologies,

                                                                  - iii –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 4 of 31 Page ID #:626




  1       138 F.3d 1448, 1460 (Fed. Cir. 1998), citing Molins PLC v. Textron, Inc., 48 F.3d
  2
          1172, 1186, 33 USPQ2d 1823, 1833 (Fed.Cir.1995) ..............................................21

  3   Digitech Image Techs., LLC v. Elecs. For Imaging, Inc.,
  4      Case No. 8:12-cv-1324-ODW(MRWx) (C.D. Cal July 31, 2013) (Dkt. No. 88) .....6
  5   E.Digital Corporation v. Creative Labs, Inc.,
  6      Civ. A. No. 12-cv-2879-DMS (WVG), Dkt. No. 46 (S.D. Cal. June 11, 2013) ..1, 2,
         9
  7

  8   Eon-Net LP v. Flagstar Bancorp,
        653 F.3d 1314 (Fed. Cir. 2011) ................................................................ 2, 9, 10, 11
  9

 10   Hensley v. Eckerhart,
 11
        461 U.S. 424 (1982)...........................................................................................22, 24

 12   Highmark, Inc. v. Allcare Health Management Systems, Inc.,
 13      687 F.3d 1300, 1308 (Fed. Cir. 2012) .................................................... 2, 7, 8, 9, 13
 14
      In re Keegan Mgmt.,
 15       78 F.3d 431, 436 (9th Cir. 1996) .........................................................................8, 18
 16
      Ingenuity 13 LLC v. Doe,
 17      2013 U.S. Dist. LEXIS 64564 at *5, 2013 WL 1898633 (C.D. Cal. May 6, 2013)16
 18
      IPXL Holdings v. Amazon.com,
 19      430 F.3d 1377, 1386 (Fed.Cir.2005) .......................................................................16
 20
      Lam v. Johns-Manville,
 21     718 F.2d 1056, 1069 (Fed. Cir. 1983) .....................................................................22
 22
      Loctite v. Fel-Pro,
 23
         667 F.2d 577, 585 (7th Cir. 1981) ...........................................................................22
 24
      MySpace, Inc. v. GraphOn Corp.,
 25
        72 F.3d 1250, 1260 (Fed. Cir. 2012) ...................................................................3, 14
 26

 27
      Oakley, Inc. v. Sunglass Hut Int'l,
        316 F.3d 1331, 1339 (Fed. Cir. 2003) (citing 35 U.S.C. § 282) .........................3, 13
 28


                                                            - iv –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 5 of 31 Page ID #:627




  1   Precor v. Life Fitness,
  2
         13 F. App'x 913, 922 (Fed. Cir. 2001) citing Beckman Instr.v. LKB Produkter AB,
         892 F.2d 1547, 1553, 13 USPQ2d 1301, 1306-07 (Fed.Cir.1989) ............ 19, 20, 24
  3

  4   Reed v. H.H.S.,
         774 F.2d 1270, 1277 (4th Cir. 1985) .......................................................................25
  5

  6   Site Update Solutions, LLC v. Accor N. Am., Inc.,
          11-3306 PSG, 2013 WL 2238626 (N.D. Cal. May 21, 2013) ...................................1
  7

  8   Slimfold Mfg. v. Kinkead Indus.,
         932 F.2d 1453, 1459-60 (Fed.Cir.1991) ..................................................... 19, 20, 24
  9

 10   Taurus IP, LLC v. DaimlerChrysler Corp.,
 11
        635 F.3d 539 (Fed. Cir. 2011) .................................................................................15

 12   Wi-LAN v. Kilpatrick Townsend,
 13      684 F.3d 1364, 1371 (Fed. Cir. 2012) .....................................................................24
 14   Statutes
 15
      28 U.S.C. § 1927 ...................................................................................................7, 8, 17
 16
      35 U.S.C. § 271 .............................................................................................................12
 17

 18   35 U.S.C. § 285 .....................................................................................................6, 7, 19
 19
      35 U.S.C. § 299 .............................................................................................................10
 20

 21   Fed. R. Civ. P. 54, adv. Comm. Note to 1993 amendments .........................................24
 22

 23

 24

 25

 26

 27

 28


                                                                 - v –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 6 of 31 Page ID #:628




  1   I.    INTRODUCTION
  2
            This Court has ruled that the asserted claims of the patent-in-suite are directed to
  3

  4   non-patentable subject matter under Section 101 of the Patent Act. Newegg, a retailer
  5   whose case has been stayed awaiting disposition of similar suits against camera
  6
      manufacturers for most of the litigation, is the sole Defendant out of twenty cases to
  7

  8   file a Motion for Fees under Section 285. This is because, rather than being based upon
  9
      law and fact, Newegg’s filing is based upon a meritless strategy to file Section 285
 10

 11
      motions in apparently every case in which it prevails, regardless of whether it is an

 12   “exceptional case” as the statute requires.      In its Motion, Newegg states that it
 13
      “consistently” seeks its fees and refers the Court to the Site Update and Adjustacam
 14

 15   cases. However, Newegg fails to mention that the court DENIED Newegg’s Section
 16
      285 Motions for lack of merit in both cases. See Site Update Solutions, LLC v. Accor
 17

 18
      N. Am., Inc., 11-3306 PSG, 2013 WL 2238626 (N.D. Cal. May 21, 2013) (Exhibit 2);

 19   Adjustacam, No. 6:10-cv-00329-LED, Dkt. No. 761 (Exhibit 3). Apparently Newegg
 20
      failed to update its cookie-cutter1 Motion for fees to include this very relevant
 21

 22   information.
 23

 24

 25
      1
       Newegg’s Motion is largely a cut-and-paste from a previous Motion that it filed in an
 26
      unrelated E.Digital case in the Southern District. C.f. Newegg’s Motion with Exhibit 4
 27   (Newegg Memorandum of Points and Authorities in Support of Motion to Stay filed by
      Newegg in E.Digital Corporation v. Creative Labs, Inc., Civ. A. No. 12-cv-2879-DMS
 28
      (WVG), Dkt. No. 46 (S.D. Cal. June 11, 2013)).
                                               - 1 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 7 of 31 Page ID #:629




  1         Newegg’s argument that this case is “exceptional” rests upon three meritless
  2
      grounds: 1) Digitech filed this case allegedly “to extract a nuisance value settlement”;
  3

  4   2) Digitech somehow acted improperly by suing retailers for products they sold that
  5   Digitech contends infringe its patent; and 3) Digitech’s pre-filing investigation should
  6
      have revealed that the presumptively valid claims of the patent-in-suit were not valid.
  7

  8   Newegg’s Motion at Pg. 13. However, as Newegg admits, it must provide clear and
  9
      convincing evidence that this case is “exceptional.” Highmark, Inc. v. Allcare Health
 10

 11
      Management Systems, Inc., 687 F.3d 1300, 1308 (Fed. Cir. 2012). However, Newegg

 12   does not have any evidence, much less clear and convincing evidence, of an
 13
      “exceptional” case. Instead, Newegg offers rhetorical and factually baseless attorney
 14

 15   argument rehashed, in most instances nearly verbatim, from a Motion for Fees that it
 16
      recently filed in the completely unrelated E.Digital case. See Footnote 1 supra.
 17

 18
            Digitech did not file this case “to extract a nuisance value settlement,” nor has it

 19   conducted itself in that manner.
 20

 21

 22

 23
                                                        These agreements are nothing like the
 24
      “$25,000 to $75,000 settlement offer range” found in the Eon-Net case that Newegg so
 25

 26   heavily relies upon. Newegg’s Motion at Pg. 12.
 27

 28


                                               - 2 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 8 of 31 Page ID #:630




  1         Next, Newegg takes issue with being named in the suit, because Newegg deems
  2
      it wrongful that retailers get sued for patent infringement. However, Newegg points to
  3

  4   no case law to support that naming a retailer justifies an exceptional case finding. As
  5   the second largest online-only retailer in the United States,2 Newegg would no doubt
  6
      prefer a rule that retailers can profit from patent infringement while being immune from
  7

  8   liability from patent infringement, but that is clearly not the law.
  9
            Finally, Newegg contends that Digitech’s pre-filing investigation should have
 10

 11
      revealed that the presumptively valid claims of the patent-in-suit were invalid under

 12   Section 101. Newegg’s Motion at 13. Digitech does not dispute that this Honorable
 13
      Court found the asserted claims covered unpatentable subject matter pursuant to 35
 14

 15   U.S.C. § 101.3 However, “an issued patent is presumed to be valid.” Oakley, Inc. v.
 16
      Sunglass Hut Int'l, 316 F.3d 1331, 1339 (Fed. Cir. 2003) (citing 35 U.S.C. § 282). In
 17

 18
      addition, as even the Federal Circuit admits, Section 101 jurisprudence is a “murky

 19   morass.” MySpace, Inc. v. GraphOn Corp., 672 F.3d 1250, 1260 (Fed. Cir. 2012). At
 20
      a minimum, Section 101 jurisprudence is rapidly evolving, including during the
 21

 22   pendency of this suit. For example, in invalidating the claims, this Court at least
 23
      primarily relied upon case law that had not been decided when this suit was filed. See
 24

 25

 26   2
        See        http://www.forbes.com/lists/2011/21/private-companies11_Neweggcom_
 27   GPM6.html.
      3
         Digitech does, however, respectfully disagree with the Court’s decision and is
 28
      appealing to the Federal Circuit for guidance on this issue.
                                                - 3 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 9 of 31 Page ID #:631




  1   Dkt. No. 4 citing CLS Bank Int’l v. Alice Corp., No. 2011-1301, 2013 U.S. App. LEXIS
  2
      9493, at *28, 30 (Fed. Cir. May 10, 2013) (en banc) (Lourie, J., concurring). Digitech
  3

  4   should not be faulted for asserting presumptively valid claims in good faith when this
  5   area of the law contains uncertainty and change. As evidenced by the fact that none of
  6
      the other defendants in the twenty pending related cases, except Newegg, filed a Section
  7

  8   285 motion, with all due respect to this Court’s summary judgment ruling, it was a
  9
      difficult issue which Digitech was reasonable in differing with.
 10

 11
            Further, although Newegg was the beneficiary of a summary judgment motion

 12   filed by other defendants in different cases, Newegg never raised the 101 issue on its
 13
      own outside of a boilerpate recitation in its answer. Thus, apparently the invalidity of
 14

 15   the patent-in-suit should have somehow been obvious to Digitech for reasons that
 16
      Newegg fails to articulate, despite the fact that Newegg never raised the issue or filed
 17

 18
      any motions asserting such grounds.        Newegg’s arguments that Digitech acted

 19   improperly by not realizing that presumptively valid claims were invalid, due to a
 20
      complex and evolving area of the law, are meritless.
 21

 22         Finally, Newegg’s attorney’s fee claim is clearly inflated and based upon an
 23
      inexcusable misrepresentation to the Court that the fees claimed are all for “defending”
 24
      this suit -- see Newegg’s Motion at Pg. 7 and supporting declarations at Dkt. Nos. 43-
 25

 26   1 at ¶3; 43-2 at ¶3. As Newegg has since admitted in correspondence, see Exhibit 5,
 27
      preparatory to a Motion for Sanctions filed by Digitech as a result of this
 28


                                               - 4 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 10 of 31 Page ID #:632




  1   misrepresentation in Newegg’s Motion for Fees, and as Newegg admitted today in in
  2
      responding (see Dkt No. 47 at Pg. 6) to Digitech’s pending Motion for Sanctions (see
  3

  4   Dkt No. 45), despite representing in its Motion for Fees that all claimed fees were all
  5   incurred in “defending” this suit, Newegg’s fee claim also includes substantial fees --
  6
      according to Newegg’s response to the Motion for Sanctions, allegedly “roughly 20
  7

  8   percent”, Dkt No. 47 at Pg. 6 -- incurred in pursuing its baseless third party claim against
  9
      Digitech’s ultimate parent. But this Court dismissed that third-party claim for lack of
 10

 11
      subject matter jurisdiction because Newegg had “no authority” for bringing such a third

 12   party into the case. Dkt. No. 38 at Pg. 7. The misrepresentations in Newegg’s Motion
 13
      for Fees alone justify denial of its motion. Further, Newegg’s belated concession (in
 14

 15   responding to a Motion for Sanctions), and without any documentary support, that
 16
      “roughly 20 percent” of its claim is inflated, also illustrates how Newegg has failed to
 17

 18
      carry its burden for a fee award.

 19   II.   STATEMENT OF FACTS
 20
            This case was brought against Newegg on October 2, 2012 for infringement of
 21

 22   U.S. Patent No. 6,128,415 (the “’415 patent” or “patent-in-suit”). In addition, Digitech
 23
      brought suit against other Defendants, including manufacturers of products sold by
 24
      Newegg (and other re-sellers of such manufacturer’s products) that were alleged to
 25

 26   infringe. Digitech’s claims against Newegg were initially dismissed for misjoinder, but
 27
      Digitech filed an individual suit against Newegg on the following day.
 28


                                                 - 5 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 11 of 31 Page ID #:633




  1          Next, Newegg filed a Motion to Stay the case based upon the “customer suit
  2
      exception” because it is a retailer. Dkt. No. 24. On April 10, 2013, the Court stayed
  3

  4   the case against Newegg and the other retailer defendants. Dkt. No. 37.
  5          On June 17, 2013, nearly nine months after the filing of this case, in a related
  6
      case, certain Defendants (not including Newegg) filed a request for leave to file a
  7

  8   Motion for Summary Judgment based upon 35 U.S.C. § 101. After granting these
  9
      Defendants’ request, and fully briefing the issue, the Court found the ‘415 Patent invalid
 10

 11
      for failing to comply with 35 U.S.C. § 101. See Digitech Image Techs., LLC v. Elecs.

 12   For Imaging, Inc., Case No. 8:12-cv-1324-ODW(MRWx) (C.D. Cal July 31, 2013)
 13
      (Dkt. No. 88). Subsequently, judgment was entered in this case. Dkt. No. 39. Newegg
 14

 15   has now come before the Court seeking attorney’s fees pursuant to 35 U.S.C. § 285.
 16
      Despite being requested to do so, Newegg has not provided Digitech, nor the Court,
 17

 18
      with a copy of the invoices for the fees it alleges were incurred in “defending” this

 19   action.
 20
      III.   LEGAL STANDARD
 21

 22          Under 35 U.S.C. § 285, a “court in exceptional cases may award reasonable
 23
      attorney fees to the prevailing party.”4 Once it is determined that the party seeking fees
 24
      is a prevailing party, determining whether to award attorneys' fees under 35 U.S.C. §
 25

 26
      4
 27     Digitech does not dispute that Newegg is the prevailing party with respect to
      Digitech’s infringement claim. However, Newegg is not the prevailing party for its
 28
      failed third-party claim against Digitech’s ultimate parent company.
                                                - 6 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 12 of 31 Page ID #:634




  1   285 is a two-step process. Highmark, Inc. at 1308. First, a prevailing party must
  2
      establish by clear and convincing evidence that the case is “exceptional.” Id. “It is
  3

  4   established law under section 285 that absent misconduct in the course of the litigation
  5   or in securing the patent, sanctions may be imposed against the patentee only if two
  6
      separate criteria are satisfied: (1) the litigation is brought in subjective bad faith, and
  7

  8   (2) the litigation is objectively baseless.” Id. The requirement that the litigation be
  9
      objectively baseless “does not depend on the state of mind of the [party] at the time the
 10

 11
      action was commenced, but rather requires an objective assessment of the merits.” Id.

 12   at 1308-09. “To be objectively baseless, the infringement allegations must be such that
 13
      no reasonable litigant could reasonably expect success on the merits.” Id. at 1309. This
 14

 15   is known as the subjective prong of the inquiry. Id. This same objective/subjective
 16
      standard applies for both patentees asserting claims of infringement and alleged
 17

 18
      infringers defending against claims of infringement. Id. With respect to the subjective

 19   prong, “there is a presumption that an assertion of infringement of a duly granted patent
 20
      is made in good faith.” Id. Even if a case is deemed exceptional, a court must still
 21

 22   determine whether an award of attorneys' fees is appropriate and, if so, the amount of
 23
      the award. Id. “[T]he amount of the attorney fees [awarded] depends on the extent to
 24
      which the case is exceptional.” Id.
 25

 26         Section 1927 provides that “[a]ny attorney…who so multiplies the proceedings
 27
      in any case unreasonably and vexatiously may be required by the court to satisfy
 28


                                                - 7 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 13 of 31 Page ID #:635




  1   personally the excess costs, expenses, and attorneys’ fees reasonably incurred because
  2
      of such conduct.” Similarly, courts have inherent power to “assess attorney’s fees when
  3

  4   a party has acted in bad faith, vexatiously, wantonly, or for oppressive reasons.”
  5   Chambers v. NASCO, 501 U.S. 32, 45–46 (1991). “An award of sanctions under 28
  6
      U.S.C. § 1927 or the district court’s inherent authority requires a finding of recklessness
  7

  8   or bad faith.” Barber v. Miller, 146 F.3d 707, 711 (9th Cir. 1998). Subjective bad faith
  9
      is present “when an attorney knowingly or recklessly raises a frivolous argument, or
 10

 11
      argues a meritorious claim for the purpose of harassing an opponent.” In re Keegan

 12   Mgmt., 78 F.3d 431, 436 (9th Cir. 1996).
 13
      IV.   ARGUMENT
 14

 15         A. This case is not “exceptional” under 35 U.S.C. § 285.
 16         Newegg ignores the strict framework of a section 285 analysis provided by the
 17
      Federal Circuit and instead uses unsupported attorney statements to fashion a half-
 18

 19   baked argument that this case is “exceptional.” For example, Newegg has not alleged
 20
      that there was “misconduct in the course of litigation or in securing the patent.”
 21
      Highmark, Inc., 687 F.3d at 1308. Nor does Newegg allege that “(1) the litigation is
 22

 23   brought in subjective bad faith, and (2) the litigation is objectively baseless.” Id. For
 24
      this reason alone, Newegg’s Motion fails.
 25

 26         Instead, Newegg’s argument that this case is “exceptional” rests upon three
 27
      baseless grounds: 1) Digitech filed this case allegedly “to extract a nuisance value
 28


                                                - 8 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 14 of 31 Page ID #:636




  1   settlement”; 2) Digitech named retailers such as Newegg instead of just naming
  2
      manufacturers; and 3) Digitech’s pre-filing investigation should have revealed that the
  3

  4   presumptively valid ‘415 patent was actually invalid. Newegg’s Motion at Pg. 13.
  5   Newegg admits it must provide clear and convincing evidence that this case is
  6
      “exceptional.”   Highmark, Inc. at 1308. Yet Newegg offers nothing more than
  7

  8   rhetorical attorney argument rehashed nearly verbatim from the completely unrelated
  9
      E.Digital case. See E.Digital, supra (Exhibit 4).
 10

 11
                a. Newegg’s allegation that Digitech filed this case “to extract a nuisance
                   value settlement” is baseless, unsupported, and contrary to the facts.
 12

 13         Had Newegg bothered to check the facts prior to cutting-and-pasting its Eon-Net
 14
      arguments from its motion in the unrelated E.Digital case, Newegg would realize that
 15
      its baseless “nuisance value” allegations have no pertinence to this case.
 16

 17

 18

 19

 20                                           These settlements are nothing like the “$25,000
 21   to $75,000 settlement offer range” found in the Eon-Net case that Newegg so heavily
 22
      relies upon. Newegg’s Motion at Pg. 12. Defendants in this this case were never given
 23

 24   the choice to “either settle this action by paying plaintiff’s counsel’s fees plus $1,000
 25
      or to incur far greater attorney’s fees itself in pursuing the action to judgment.” See
 26

 27

 28


                                               - 9 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 15 of 31 Page ID #:637




  1   Newegg’s Motion at Pg. 9 citing Artese v. Academy Collection Service5, No. 3:96-cv-
  2
      2546-GLG, 2000 U.S. Dist. LEXIS 1186, at *10 (D. Conn. Jan. 18, 2000). Further, at
  3

  4   no point has Digitech ever offered to settle this case for nuisance value. Digitech is, of
  5   course, amenable to reasonable settlements, but it had every intention of litigating this
  6
      case to trial – until the patent was invalidated by the Court under 35 U.S.C. §101, a
  7

  8   decision which Digitech, respectfully, is appealing.
  9
            Further, the fact that Digitech has filed multiple lawsuits against other infringers
 10

 11
      is evidence of nothing other than the fact that multiple other parties also manufacture

 12   or sell infringing products. See, e.g., ArrivalStar v. Meitek, No. 2:12-cv-01225-JVS,
 13
      Dkt No. 55, p. 8 (C.D. Cal. Nov. 20, 2012) (“evidence that ArrivalStar has filed suit
 14

 15   against many other parties does not, by itself, prove that litigation is unjustified or
 16
      baseless”). This is not a case in which a dubious infringement theory was asserted
 17

 18
      against numerous parties in the hope of nuisance value settlements. Newegg’s Motion

 19   does not even argue, or support any argument, that it doesn’t infringe the ‘415 patent.
 20
      Further, the number of suits filed is also a function of the new AIA provisions
 21

 22   prohibiting joinder of parties, see 35 U.S.C. § 299, something wholly unrelated to the
 23
      merits of the case.
 24

 25

 26

 27
      5
       Artese is a non-patent case. Likewise, Newegg’s reliance upon Ingenuity 13, LLC v.
      Doe, No. 2:12-cv-8333-ODW, 2013 U.S. Dist. LEXIS 64564 9C.D. Cal. May 6, 2013),
 28
      another non-patent case, is misplaced.
                                               - 10 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 16 of 31 Page ID #:638




  1         Newegg’s reliance upon the Eon-Net case is wholly misplaced. See Eon-Net LP
  2
      at 1314. In Eon-Net, the Federal Circuit affirmed a District Court’s exceptional case
  3

  4   finding based upon the totality of (1) Eon-Net destroying relevant documents from a
  5   prior lawsuit prior to filing suit; (2) Eon–Net failing to engage in the claim construction
  6
      process in good faith; (3) Eon-Net displaying a “lack of regard for the judicial system”
  7

  8   and a “cavalier attitude” towards the “patent litigation process as a whole,” as evidenced
  9
      by an interrogatory response which “snidely stated” that “the skill in the art required is
 10

 11
      that sufficient to converse meaningfully with [Eon-Net’s president] Mitchell Medina,”

 12   and statements by Mr. Median at his deposition that it was “an inconvenience and a
 13
      bother”; (4) because the written description of the patent-in-suit repeatedly defined the
 14

 15   invention as a system for processing information that originates from hard copy
 16
      documents, which the Defendant Fisher did not do; and (5) Eon-Net had had filed over
 17

 18
      100 lawsuits, with each complaint being followed by a “demand for a quick settlement

 19   … using a license fee schedule based on the defendant's annual sales: $25,000 for sales
 20
      less than $3,000,000; $50,000 for sales between $3,000,000 and $20,000,000; and
 21

 22   $75,000 for sales between $20,000,000 and $100,000,000.” Eon-Net is an extreme
 23
      case. None of these facts, or anything close to them, are present in this case,nor has
 24
      Newegg shown any facts similar to Eon-Net that are present in this case.
 25

 26             b. There was nothing improper about Digitech suing a retailer for making
 27
                   infringing sales of infringing products.

 28


                                                - 11 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 17 of 31 Page ID #:639




  1         Next, Newegg takes issue with being named in the suit because it is a retailer.
  2
      However, Newegg points to no case law to support that naming a retailer merits an
  3

  4   exceptional case finding. As the second largest online-only retailer in the United
  5   States,6 Newegg would no doubt prefer a rule that retailers are immune from liability
  6
      from infringing sales, but that is clearly not the law, nor should it be. In fact, 35 U.S.C.
  7

  8   § 271 provides that “whoever without authority makes, uses, offers to sell, or sells any
  9
      patented invention, within the United States or imports into the United States any
 10

 11
      patented invention during the term of the patent therefor, infringes the patent.”

 12   (emphasis added). Because Newegg was selling infringing products – something its
 13
      Motion does not contest – it was properly held accountable for its tortious behavior in
 14

 15   a court of law.
 16
            Including Newegg as a defendant was prudent on Digitech’s part. Almost all of
 17

 18
      the camera manufacturer defendants in the originally filed case do their manufacturing

 19   overseas. Although it was readily ascertainable that Newegg was selling infringing
 20
      products in the United States in violation of the Patent Act, in the absence of discovery,
 21

 22   Digitech lacks the ability to determine the extent of infringement by overseas
 23
      manufactures, who may have been using third parties to re-sell many of their infringing
 24
      products in the United States, or to import many of their infringing products into the
 25

 26

 27
      6
        See http://www.forbes.com/lists/2011/21/          private-companies-11_Neweggcom_
 28
      GPM6.html.
                                                - 12 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 18 of 31 Page ID #:640




  1   United States. Further, as Newegg offers no non-infringement arguments, it’s assertion
  2
      that it should simply be immune from liability for selling infringing products is baseless
  3

  4   and contrary to the law. A patentee has the right to choose the appropriate infringers
  5   who should be accountable to pay just compensation for their infringement.
  6
            Put simply, there is nothing improper about bringing an infringement suit against
  7

  8   a retailer who is selling an infringing product. Newegg has the right to request a stay
  9
      pending the conclusion of manufacturer litigation, which it successfully accomplished,
 10

 11
      but this does not detract from the merits of Digitech’s suit.

 12             c. Newegg’s contention that Digitech “should have known” that a
 13                presumptively valid patent was actually invalid is meritless and
                   unsupported.
 14

 15         With no facts to back its claim, Newegg contends that “the pre-filing
 16
      investigation7 should have revealed the weakness of the patent and its invalidity from
 17

 18
      the start.” Newegg’s Motion at 13. Newegg does not allege, and cannot possibly prove

 19   with clear and convincing evidence, that “no reasonable litigant could reasonably
 20
      expect success on the merits” on a presumptively valid patent. See Highmark, Inc., 687
 21

 22   F.3d at 1308. This is the high standard set by the Federal Circuit. Id. On this ground
 23
      alone, Newegg’s Motion should be denied.
 24

 25

 26

 27
      7
       Tellingly, Newegg does not allege that no pre-filling investigation was done, and to
 28
      do so would be baseless.
                                               - 13 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 19 of 31 Page ID #:641




  1         Further, Newegg’s argument ignores that “an issued patent is presumed to be
  2
      valid.” Oakley, Inc. at 1339 citing 35 U.S.C. § 282 (2000). Because the ‘415 patent
  3

  4   was issued by the United States Patent and Trademark Office, it was presumed to be
  5   valid and contain patentable subject matter pursuant to 35 U.S.C. § 101. Further, it
  6
      should be noted that the original assignee of the ‘415 patent was Polaroid and the
  7

  8   invention was developed by Polaroid—who in its day was one of the most respected
  9
      technology innovators in the country.
 10

 11
            In addition, although Digitech respects (and, with all due respect, is appealing)

 12   this Court’s summary judgment ruling, even the Federal Circuit has admitted that § 101
 13
      jurisprudence is a “murky morass.” MySpace, Inc. at 1260. Moreover, numerous
 14

 15   commentators have aptly described current § 101 jurisprudence as a “mess.” See
 16
      Exhibit 8 (“KSR the 5th Anniversary: One Supremely Obvious Mess”); Exhibit 9
 17

 18
      (“Michel: US 101 Law is a Mess”); Exhibit 10 (Federal Circuit Makes Mess of Software

 19   Patents); Exhibit 11 (“SCOTUS in Myriad: Federal Circuit doesn’t know what’s patent-
 20
      eligible”); Exhibit 12 (“Myspace – Eschewing a ‘Murky Mess’”). As Judge Plager
 21

 22   states in MySpace, “[o]ur opinions spend page after page revisiting our cases and those
 23
      of the Supreme Court, and still we continue to disagree vigorously over what is or is
 24
      not patentable subject matter.” MySpace, 672 F.3d at 1260. In short, “a reasonable
 25

 26   litigant could reasonably expect success on the merits” with respect to § 101
 27

 28


                                              - 14 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 20 of 31 Page ID #:642




  1   patentability when the Federal Circuit itself has had difficulty agreeing upon the proper
  2
      scope of Section 101.
  3

  4          Further, Section 101 case law has been in flux, to say the least. For example, in
  5   ruling the asserted claims invalid, the Court relied heavily upon case law that came out
  6
      after this case had been filed as grounds for invalidating the patent. See Dkt. No. 4
  7

  8   citing CLS Bank Int’l. It is unrealistic to expect that Digitech’s pre-filing investigation
  9
      should have predicted the course of this changing jurisprudence during the pendency of
 10

 11
      the suit.

 12          Newegg cannot point to a single case where a Court has found a case exceptional
 13
      on the sole ground of Section 101 unpatentability. For example, Newegg relies upon
 14

 15   Taurus IP, LLC v. DaimlerChrysler Corp., 635 F.3d 539 (Fed. Cir. 2011). However,
 16
      the Taurus case is wholly inapplicable. In Taurus, the Court determined the case to be
 17

 18
      “exceptional” in part based on the plaintiff’s infringement theories and its failure to

 19   “throw in the towel” after an unfavorable Markman opinion. Id. at 867-868. Further,
 20
      the Taurus court made additional findings unique to that case that it deemed egregious.
 21

 22   Id. None of the above is present, nor has Newegg alleged that such facts are present, in
 23
      this case.
 24
             Finally, Newegg fails to bring to the Court’s attention that it took nearly nine
 25

 26   months for the moving defendants, other than Newegg, to bring a Request for Leave to
 27
      file a Motion for Summary Judgment for the ‘415 patent failing to comply with 35
 28


                                                - 15 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 21 of 31 Page ID #:643




  1   U.S.C. § 101. Many of the defendants in these related cases are represented by some
  2
      of the largest and most sophisticated patent counsel in the country. If this were an open
  3

  4   and shut case as Newegg so claims, it would not have taken nine months for this matter
  5   to be brought to the Court’s attention.
  6
            Although Newegg was the beneficiary of a summary judgment motion filed by
  7

  8   other defendants in other cases, Newegg never raised the 101 issue (outside of its
  9
      boilerplate answer), nor did it seek to join in the motion. Thus, apparently the invalidity
 10

 11
      of the patent-in-suit should have somehow been obvious to Digitech, despite the fact

 12   that Newegg did not realize the issue either. Newegg’s arguments that Digitech acted
 13
      improperly by not realizing that presumptively valid claims were invalid, due to a
 14

 15   complex and rapidly evolving area of the law, are meritless.
 16
            B. For at least the same reasons, granting fees pursuant to Fed. R. Civ. P.
 17            54(d) is inappropriate.
 18
            Rule 54(d) is merely the means by which a request for fees under 35 U.S.C. §
 19

 20   285 is made, see, IPXL Holdings v. Amazon.com, 430 F.3d 1377, 1386 (Fed.Cir.2005),
 21   rather than an independent ground for granting a Motion for Fees as Newegg seems to
 22
      suggest. See Newegg’s Motion at Pgs. 8-9. Further, the cases relied upon by Newegg
 23

 24   do not involve granting fees pursuant to Rule 54(d) separate and apart from Section
 25
      285. See Ingenuity 13 LL at *5; Artese at 1186. Nonetheless, to the extent Newegg is
 26

 27
      requesting fees under Rule 54(d) itself, the granting of fees would be inappropriate for

 28   at least the same reasons as under Section 285.

                                                - 16 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 22 of 31 Page ID #:644




  1         C. For at least the same reasons, granting fees pursuant to §1927 or the
  2
               Court’s Inherent Powers is inappropriate.

  3         Newegg pays summary lip service to its request that, even though the standard
  4
      under Section 285 has not been met, somehow “Digitech” should be sanctioned under
  5

  6   28 U.S.C. § 1927 or pursuant to the Court’s “inherent powers” for bringing suit based
  7
      upon a preemptively valid patent.
  8
            Section 1927 provides for a fee award against an attorney who “multiplies the
  9

 10   proceedings in any case unreasonably and vexatiously.” However, Newegg has shown
 11
      nothing multiplicious or vexatious about any conduct in this suit. The history of the
 12

 13   suit is that Digitech filed suit against Newegg and others; the case was dismissed for
 14
      misjoinder; Digitech promptly re-filed individual suits, including this one; shortly
 15
      thereafter, this suit was stayed pending resolution of suits against manufacturers of
 16

 17   products sold by Newegg; and certain manufacturer defendants succeeded in obtaining
 18
      a summary judgment under Section 101 while this suit was stayed. Newegg’s active
 19

 20   presence in this litigation was brief and very little occurred.          No vexatious or
 21   multiplicious conduct has been shown. Although Newegg was entitled to a stay
 22
      pending resolution of the manufacturer suits, as noted above, Newegg’s position that
 23

 24   retailers should be able to profit from infringement while being immune from
 25
      infringement is simply not the law. The fact that Digitech has sued multiple infringers
 26

 27
      is merely indicative that there are multiple infringers, and it has no bearing on the merits

 28   of Digitech’s claims. See, e.g., ArrivalStar, Dkt No. 55, p. 8 (C.D. Cal. Nov. 20, 2012)

                                                - 17 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 23 of 31 Page ID #:645




  1   (“evidence that ArrivalStar has filed suit against many other parties does not, by itself,
  2
      prove that litigation is unjustified or baseless”).
  3

  4         Further, an award of sanctions under 28 U.S.C. § 1927 or the district court’s
  5   inherent authority “requires a finding of recklessness or bad faith.” Barber, 146 F.3d
  6
      at 711. Subjective bad faith “is present when an attorney knowingly or recklessly raises
  7

  8   a frivolous argument, or argues a meritorious claim for the purpose of harassing an
  9
      opponent.” In re Keegan Mgmt. Co., 78 F.3d at 436. In the present case, Newegg has
 10

 11
      not shown, and cannot show, that Digitech should have known its presumptively valid

 12   patent, that originated at Polaroid, was invalid under “murky” and evolving Section 101
 13
      jurisprudence, much less that asserting a presumptively valid patent is somehow “bad
 14

 15   faith, “reckless,” “frivolous,” or done for “harassment.”
 16
            Sanctions under the Court's inherent authority are available only if “the court
 17

 18
      specifically finds bad faith or conduct tantamount to bad faith.” Id. at 1108. Here again,

 19   Newegg lacks any shred of evidence that would in any way show that Digitech (or its
 20
      counsel) has acted in bad faith, or for mere harassment of Newegg, in asserting a
 21

 22   presumptively valid patent and an infringement claim that Newegg has not, and cannot,
 23
      challenge on the merits. Newegg has provided nothing to the Court other than
 24
      unsupported attorney rhetoric. Sanctions are wholly unwarranted under either section
 25

 26   1927 or the Court’s inherent authority.         Id. at 1107–1108. See also, Alvarado
 27
      Orthopedic Research, L.P. v. Linvatec Corp. 2013 WL 2351814 at *11 (“Defendant
 28


                                                 - 18 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 24 of 31 Page ID #:646




  1   makes no attempt to show any intent to harass, bad faith, or conduct tantamount to bad
  2
      faith by Plaintiff. Thus, sanctions are wholly unwarranted under either section 1927 or
  3

  4   the Court's inherent authority.”). Further, as this is a patent case that falls under Section
  5   285, the absence of an exceptional case under Section 285 should preclude any fee
  6
      awards or other “sanctions” under Section 1927 or the Court’s inherent authority.
  7

  8         D. Even if Newegg was entitled to a fee recovery, which it is not, Newegg has
               failed to prove up its attorney’s fees for defending this action. Even
  9
               worse, Newegg has inexcusably inflated its fee claim by misrepresenting
 10            that all fees sought are all for “defending” this action.
 11
                 a. Newegg’s Motion contains inexcusable misrepresentations.
 12

 13         The Federal Circuit has made clear that where a case is found to be exceptional
 14
      pursuant to 35 U.S.C. § 285, “fees should only be granted to the extent a party has
 15
      prevailed.” Precor v. Life Fitness, 13 F. App'x 913, 922 (Fed. Cir. 2001) citing
 16

 17   Beckman Instr.v. LKB Produkter AB, 892 F.2d 1547, 1553, 13 USPQ2d 1301, 1306-07
 18
      (Fed.Cir.1989); Slimfold Mfg. v. Kinkead Indus., 932 F.2d 1453, 1459-60
 19

 20   (Fed.Cir.1991). Digitech does not dispute that Newegg is the prevailing party as to
 21   Digitech’s infringement claims. However, Newegg is not the prevailing party on
 22
      Newegg’s failed third party claim against Digitech’s parent which this Court dismissed
 23

 24   for lack of subject matter jurisdiction because, as this Court held, Newegg had “no
 25
      authority” for bringing such a third party into the case. Dkt. No. 38 at Pg. 7. Thus, any
 26

 27
      fees associated with this claim cannot be recovered. Newegg’s motion attempts to

 28   avoid this inconvenient fact by affirmatively misrepresenting – including in

                                                 - 19 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 25 of 31 Page ID #:647




  1   declarations signed by Newegg’s outside counsel – that its claim for fees includes fees
  2
      incurred in “defending” this action. Specifically, Newegg stated that it has “incurred
  3

  4   $64,851.73 in legal fees thus far in defending this matter.” Newegg’s Motion at Pg. 7
  5   (emphasis added). Newegg also filed two declarations in support of its Motion stating
  6
      that the fees were incurred by Newegg “defending itself in the above-captioned patent
  7

  8   infringement suit.” Dkt. Nos. 43-1 at ¶3; 43-2 at ¶3 (emphasis added). Nowhere in its
  9
      motion, or the declarations included therewith, does Newegg mention that it was
 10

 11
      seeking fees for its failed third-party claim against Acacia. As described above,

 12   recovery of fees for such a claim would run contrary of established Federal Circuit
 13
      precedent. Precor, 13 F. App'x at 922; Beckman Instruments, 892 F.2d at 1553;
 14

 15   Slimfold, 932 F.2d at 1459-60.
 16
            During the meet and confer process, Digitech voiced its concerns that Newegg’s
 17

 18
      inclusion of fees related to a failed “counterclaim” against Digitech’s ultimate parent

 19   would lack a good faith basis. See Exhibit 13. Only after being called out on this issue,
 20
      counsel for Newegg admitted in writing that Newegg had in fact included said fees in
 21

 22   its Motion. See Exhibit 5. However, Newegg not only failed to inform the Court that
 23
      its claim included such improper fees, but it affirmatively misrepresented the facts in
 24
      an effort to hide this inconvenient truth. Tellingly, Newegg’s Motion provides a
 25

 26

 27

 28


                                               - 20 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 26 of 31 Page ID #:648




  1   laundry list8 detailing what little work it did in the case prior to it being stayed except
  2
      the work it created when it chose to file a failed third-party “counterclaim” against
  3

  4   Digitech’s ultimate parent.
  5         Now, in its Response to Digitech’s Motion for Sanctions (Dkt. No. 47), Newegg
  6
      has finally been forced to come clean with respect to its misleading statements. Newegg
  7

  8   belatedly estimates that it spent “roughly” $13,816.24 of its fees in its pursuit of its
  9
      failed third party counterclaim. Dkt. No. 47 at Pg. 6. By its own belated admission
 10

 11
      “[t]hat equates to roughly 20 percent of the overall fee amount sought by Newegg.” Id.

 12   Even if Newegg’s belated (yet undocumented) “rough” estimate is taken as true, this
 13
      still confirms Newegg’s inexcusable misrepresentation in its Motion for Fees, and its
 14

 15   Motion should be denied at least on these grounds.9
 16
            Further, even if Newegg has shown this to be an exceptional case by clear and
 17

 18
      convincing evidence, which it has not, even in an exceptional case this Court has

 19   discretion concerning whether to award fees and the amount awarded. Cybor Corp. v.
 20
      FAS Technologies, 138 F.3d 1448, 1460 (Fed. Cir. 1998), citing Molins PLC v. Textron,
 21

 22

 23
      8
        Newegg stated in its Motion that “[a]s a result of Digitech’s manipulations, Newegg
 24   prepared an answer and counterclaims, engaged in multiple discovery plan preparation
 25   sessions both with Digitech’s counsel and with other defendants across all of the cases,
      drafted a motion to stay the proceedings as to Newegg and participated in a Court-
 26
      ordered conference.” Newegg’s Motion at Pg. 7.
      9
 27     Separately, Digitech has filed a motion for sanctions to hold Newegg accountable for
      its inexcusable misrepresentations to the court, including in declarations signed by its
 28
      counsel. See Dkt No. 45.
                                                - 21 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 27 of 31 Page ID #:649




  1   Inc., 48 F.3d 1172, 1186, 33 USPQ2d 1823, 1833 (Fed.Cir.1995) (“After determining
  2
      that a case is exceptional, the district court must determine whether attorney fees are
  3

  4   appropriate, a determination that we review for an abuse of discretion.”). Newegg’s
  5   inexcusable misrepresentations that all claimed fees were incurred “defending”—when
  6
      clearly not the case— alone justifies denial of Newegg’s Motion for Fees.
  7

  8             b. Newegg has failed to prove up its attorneys’ fees in this action.
  9
            Newegg has not met its burden of showing fees reasonably incurred in defense
 10

 11
      of the action in which it actually prevailed. The fee applicant bears the initial burden

 12   of substantiating the hours worked and the rate claimed. Hensley v. Eckerhart, 461 U.S.
 13
      424 (1982) (“A request for attorney’s fees should not result in a second major litigation
 14

 15   ... the fee applicant bears the burden of establishing entitlement to an award and
 16
      documenting the appropriate hours expended …”). In this case, Newegg has not
 17

 18
      provided any documentation to support its request for fees despite repeated requests by

 19   Digitech. Newegg’s fee claim is wholly conclusory and thus fatally deficient. See
 20
      Loctite v. Fel-Pro, 667 F.2d 577, 585 (7th Cir. 1981); Lam v. Johns-Manville, 718 F.2d
 21

 22   1056, 1069 (Fed. Cir. 1983); Arroyo v. Svela, CV 10-7814 CAS-SSX, 2012 WL
 23
      3308427 at *1 (C.D. Cal. Aug. 13, 2012) (citing Hensley, 461 U.S. at 437)
 24
      (“Documentation submitted in support of a motion for attorneys' fees must apprise the
 25

 26   Court of the nature of the activity and should be sufficient to satisfy the Court that the
 27
      hours expended were actual, non-duplicative, and reasonable.”).
 28


                                               - 22 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 28 of 31 Page ID #:650




  1         Newegg’s work during its brief presence in active litigation before being stayed
  2
      appears to be the following: On October 25, 2012, in-house counsel for Newegg,
  3

  4   Annette Kazmerski, filed Newegg’s Answer to Digitech’s Complaint. Dkt. No. 16. In
  5   addition to filing counterclaims against Digitech, Newegg also filed a “counterclaim”
  6
      against Digitech’s ultimate parent, Acacia Research Corporation (“Acacia”). Tellingly,
  7

  8   no other Defendant in any related case filed a “counterclaim” or any other claim against
  9
      Digitech’s ultimate parent, who (as this Court correctly determined) is a third party with
 10

 11
      no justiciable stake in this controversy.

 12         On January 7, 2013, Acacia filed a Motion to Dismiss Newegg’s counterclaims.
 13
      Dkt. No. 30. Newegg filed a lengthy and detailed Response in Opposition to Acacia’s
 14

 15   Motion. Dkt. No. 33. On May 3, 2013, the Court dismissed Newegg’s counterclaim
 16
      against third-party Acacia for lack of subject matter jurisdiction. Dkt. No. 38. The
 17

 18
      Court, in its Order dismissing Acacia, stated that “Newegg offers no authority” for

 19   bringing a third party into the case. Dkt. No. 38 at Pg. 7.
 20
            Next, Newegg filed a Motion to Stay the case on the ground that it was merely a
 21

 22   retailer of accused products. Dkt. No. 24. Newegg’s Motion was, without a doubt,
 23
      almost entirely a copy and paste from earlier filed Motions from retailers in other cases.
 24
      C.f. Exhibit 6 (Micro Electronics Memorandum of Points and Authorities in Support of
 25

 26   Motion to Stay) with Exhibit 7 (Newegg Memorandum of Points and Authorities in
 27
      Support of Motion to Stay). It could not have taken more than an hour to copy
 28


                                                  - 23 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 29 of 31 Page ID #:651




  1   Newegg’s motion from its codefendants. On April 10, 2013, the Court stayed the case
  2
      against Newegg and the other retailer defendants. Dkt. No. 37.
  3

  4         In addition, Newegg has declined to produce its fee invoices. Instead, Newegg
  5   seeks to hide behind claims of privilege to prevent Digitech from scrutinizing its
  6
      questionable bills.10 However, a party cannot use privilege “both as a sword and a
  7

  8   shield.” Wi-LAN v. Kilpatrick Townsend, 684 F.3d 1364, 1371 (Fed. Cir. 2012);
  9
      Chevron v. Pennzoil, 974 F.2d 1156, 1162 (9th Cir.1992). Fees are routinely produced
 10

 11
      by parties in redacted form to exclude privileged information and Newegg has declined

 12   to take part in this routine exercise despite it having the burden of proof with respect to
 13
      its fees. Hensley, 461 U.S. at 424. As such, at a minimum, Newegg has not met its
 14

 15   burden of showing, much less documenting, fees “to the extent a party has prevailed.”
 16
      See, Precor, supra; Slimfold Mfg., supra. As such, Newegg has failed to meet its burden
 17

 18
      of proving up fees and its Motion should be denied.

 19         E. In the alternative, the Court should postpone deciding Newegg’s Motion
 20            until the conclusion of Digitech’s appeal.
 21         Although the Court should rightly deny Newegg’s motion based upon the matters
 22
      set forth above, if the Court is inclined to grant any relief to Newegg, then it should
 23

 24   defer such a ruling until the conclusion of Digitech’s appeal of the Court’s summary
 25

 26
      10
 27      Although Newegg has offered to provide its invoices to the Court for in-camera
      inspection, Digitech’s understanding is that, per this Court’s Procedures and Schedules,
 28
      “in camera documents are not part of the pilot program.”
                                                - 24 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 30 of 31 Page ID #:652




  1   judgment of invalidity. Under Rule 54, the Court may, in the exercise of its discretion,
  2
      defer a ruling on a motion for attorney’s fees pending appeal. See Fed. R. Civ. P. 54,
  3

  4   adv. Comm. Note to 1993 amendments (“If an appeal on the merits of the case is taken,
  5   the Court may rule on the claim for fees, may defer its ruling on the motion, or may
  6
      deny the motion without prejudice…”). See also Reed v. H.H.S., 774 F.2d 1270, 1277
  7

  8   (4th Cir. 1985); Amdocs v. Openet Telecom, 2013 U.S. Dist. LEXIS 42300, at *6 (E.D.
  9
      Va. Mar. 21, 2013). Here, in an evolving area of the law, the Federal Circuit is likely
 10

 11
      to provide guidance as to validity the ‘415 patent during the appeal of the summary

 12   judgment in this case. At a minimum, it would be unjust for this Court to award fees
 13
      when, with all due respect, the Federal Circuit may have its own views on the Section
 14

 15   101 issues.
 16
      V.    CONCLUSION
 17

 18
            Newegg has failed to meet its burden of clear and convincing evidence. For the

 19   reasons stated above, Newegg’s Motion for Fees is meritless and should be denied.
 20

 21   August 31, 2013                                  Respectfully Submitted,
 22

 23
                                                       /s/ John J. Edmonds
 24                                                    John J. Edmonds
 25

 26                                                    ATTORNEY FOR DIGITECH
 27
                                                       IMAGE TECHNOLOGIES, LLC

 28


                                              - 25 –
Case 8:12-cv-01688-ODW-MRW Document 49 Filed 08/31/13 Page 31 of 31 Page ID #:653




  1                                 PROOF OF SERVICE
  2
            I am over the age of eighteen years. I am employed at the law firm of Collins,
  3

  4   Edmonds, Pogorzelski, Schlather & Tower, PLLC. I hereby certify that on August 31,
  5
      2013, I filed the following document:
  6
                      DIGITECH’S RESPONSE IN OPPOSITION TO
  7
                      NEWEGG’S MOTION FOR FEES [REDACTED]
  8

  9
      with the Clerk of Court using the CM/ECF system, which will send notification of such

 10   filing to all counsel of record who are deemed to have consented to electronic service
 11
      via the Court’s C/ECF system per the Local Rules. Further, I am serving this Response
 12

 13   upon all known counsel of record via email.
 14
            Executed on August 31, 2013 in Houston, Texas.
 15

 16
                                                       /s/ John J. Edmonds
                                                       John J. Edmonds
 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                              - 26 –
